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                 EXHIBIT B: APRIL 2, 2024 PROPOSED VERDICT FORM [SCENARIO (a)]


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION



    UNITED STATES OF AMERICA,
    vs.                                             Case No. 23-80101-CR
    DONALD J. TRUMP, et al.,                        CANNON/REINHART

                  Defendants.


                                         VERDICT FORM

   We the jury unanimously return the following verdict:

   Count 1:

          Question 1: Did the government prove beyond a reasonable doubt that the document
   associated with Count 1 is a “Presidential record”? If not, mark “No” and proceed to Count 2. If
   the government met its burden of proof, mark “Yes” and proceed to Question 2 for Count 1.

   No ______     Yes ______

          Question 2: Did the government prove beyond a reasonable doubt the seven elements of
   Count 1? If not, mark “Not Guilty.” If the government met its burden of proof, mark “Guilty.”

   Not Guilty ______     Guilty ______

   [. . .]
